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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 19-20603-CR-COOKE/GOODMAN


   UNITED STATES OF AMERICA

   v.

   ABDUL-MAJEED MAROUF AHMED ALANI,

                                 Defendant.
   - - - - - - - - - - - - - - - - - -I
                                  STIPULATED FACTUAL BASIS

          The United States and ABDUL-MAJEED MAROUF AHMED ALANI, ("the defendant")

   hereby stipulate and agree that had this matter proceeded to trial, the United States would have

   offered evidence and testimony to establish the following factual basis beyond a reasonable doubt:

          On or about July 17, 2019, at approximately 8:39 a.m., Eastern Daylight Time (EDT), the

   American Airlines ("AA") aircraft with nose number 3MW (hereinafter "the Target Aircraft")

   arrived at Miami International Airport (MIA) from Orlando International Airport, Orlando,

   Florida, as AA Flight 365.     With the exception of a minor maintenance issue involving a

   malfunctioning light bulb in the aircraft's cockpit, there were no other reported issues with the

   Target Aircraft. Approximately two hours after its arrival into MIA, the Target Aircraft pulled out

   ofMIA's concourse D, gate 49, for its next scheduled departure to Nassau, Bahamas, as AA Flight

   2834. Thus, the Target Aircraft was set to travel in foreign air commerce.

          Aboard the Target Aircraft were 150 individuals, including passengers and crew members.

   The Target Aircraft was positioned number one for takeoff, and the flight crew increased power

   to the engines to pre-position the Target Aircraft for takeoff. At that point the Target Aircraft's

   engines resulted in an error related to the air data module (ADM) system, which, in part, reports


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   aircraft speed, pitch, and other critical flight data. The takeoff was ordered aborted and the Target

   Aircraft was directed to return to MIA's concourse D, gate 48, for maintenance.

           AA mechanics responded to the Target Aircraft at concourse D, gate 48. The mechanics

   reviewed the error messages displayed in the flight deck. They then conducted a visual inspection

   of the ADMs located inside the Target Aircraft's forward Electronics and Equipment (E&E)

   compartments. The forward E&E compartments are each accessed via a hatch on the exterior of

   the aircraft, in front of the nose gear, and underneath the cockpit. An AA mechanic discovered a

   loosely connected pi tot tube, which connected directly to one of the AD Ms. A pitot tube is a small

   metal tube containing tiny holes at its tip. It is located on the outside of the aircraft and points in

   the direction of travel. It is part of the airplane's pitot-static system and helps determine airspeed,

   altitude, and altitude trend.

           Further inspection revealed that the ADM appeared to have been deliberately obstructed

   with what appeared to be a hardened dark Styrofoam-type material. AA mechanics attempted to

   remove the obstruction from the ADM but were unable to pull it out from the ADM.

           As a result of the existence of the obstruction in the ADM, the Target Aircraft was deemed

   not airworthy and taken out of service for non-routine maintenance on July 17, 2019, at

   approximately 12: 13 p.m. EDT. The Target Aircraft was towed to AA' s hangar at MIA where out

   of service aircraft are repaired. The obstructed ADM was removed and replaced with a functioning

   ADM. After the obstructed ADM was removed from the Target Aircraft and replaced, the aircraft

   was deemed airworthy and placed back in service on July 18, 2019, at approximately 4:12 a.m.

   EDT. The defendant, who was later identified as the individual who intentionally damaged the

   ADM with super glue and Styrofoam, actually assisted with the replacement of the damaged ADM

   and received overtime pay for doing so.



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           As part of their effort to identify the individual who damaged the Target Aircraft, law

   enforcement reviewed security footage from both American Airlines and the Miami-Dade

   Aviation Department of Gate D49 and the surrounding area, as well as the AA Hangar area before,

   during, and after the time that the obstruction had been glued into the ADM. The video footage

   revealed the following: at approximately 9:28 a.m. EDT on July 17, 2019, the surveillance footage

   showed a male driving a white pickup truck and parking it next to the Target Aircraft at concourse

   D, gate 49; the driver exited the vehicle and approached the Target Aircraft's E&E compartment

   where the ADMs are located; the footage then showed the driver accessing the compartment for

   approximately seven minutes, between 9:28 a.m. and 9:35 a.m. EDT; the footage next showed that

   the driver entered the concourse D, gate 49 jet bridge using the outdoor stairs. After spending less

   than one minute in the jet bridge, the video footage documented the male returning to his parked

   pickup truck and departing the area where the Target Aircraft was parked, at approximately 9:36

   a.m. EDT.

           Notably, there was no previous report of a mechanical issue requiring access to the E&E

   compartment of the Target Aircraft. Additionally, there was not a pending work order to access

   the E&E compartment of the Target Aircraft. Accordingly, the above-described actions of the

   pickup truck driver in the E&E compartment of the Target Aircraft captured in the above described

   video footage were not for any requested or authorized repair or maintenance work for the Target

   Aircraft.

           To determine where the pickup truck came from, law enforcement reviewed additional

   video footage from the morning of July 17, 2019, and was able to determine that the pickup truck

   with the same driver originated from AA's hangar, Bay I. Video footage obtained by law

   enforcement showed the same driver enter the pickup truck in the AA hangar, Bay 1 at



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   approximately 9:07 a.m. The footage then showed that the pickup truck traveled from the Bay 1

   AA hangar to the Target Aircraft at concourse D, gate 49. The pickup truck arrived at gate 49 at

   approximately 9:28 a.m. EDT. The video footage then documented the driver of the pickup truck

   exiting the truck and accessing the Target Aircraft's E&E compartment for approximately seven

   minutes as previously described. The video footage then depicted the pickup truck depart from

   gate 49 at approximately 9:36 a.m. EDT and return to the hangar at approximately 9:41 a.m. EDT.

   At the time the pickup truck entered Bay 1 of the AA hangar it was greeted by three other AA

   personnel.

          Law enforcement interviewed those three individuals and showed them the AA hangar

   surveillance footage. Each of the three individuals identified the male driving the pickup truck as

   the defendant.

          On or about September 5, 2019, law enforcement interviewed the defendant regarding the

   July 17, 2019 sabotage of the Target Aircraft. The defendant advised law enforcement that he has

   been an airline mechanic for approximately 30 years. During the interview law enforcement

   showed the defendant the video footage previously outlined and discussed herein. The defendant

   identified himself as the driver of the pickup truck depicted in the video footage. Additionally, the

   defendant admitted that he accessed the ADM in the Target Aircraft's forward E&E compartment.

   He further admitted that he inserted a piece of foam into the ADM' s inlet where the line connects

   with the pitot tube and that he applied super glue to the foam in order to prevent the foam from

   coming off. The defendant stated that his intention was not to cause harm to the aircraft or its

   passengers. The defendant further advised that after he accessed the E&E compartment and

   tampered with the ADM, he went up to the flight deck of the Target Aircraft to check on whether

   the Target Aircraft's system detected the tampered ADM.           The defendant explained to law



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   enforcement that he was upset at the stalled contract dispute between the union workers and

   America Airlines, and that this dispute had affected him financially. The defendant claimed that

   he tampered with the Target Aircraft in order to cause a delay or have the flight cancelled in

   anticipation of obtaining overtime work. In fact, as previously stated, the defendant did obtain

   overtime work when he was assigned to work on the Target Aircraft after it was deemed not

   airworthy. However, when asked ifhe would allow his family members or himself to travel on an

   aircraft that had been tampered in the way that the defendant had tampered with the Target Aircraft,

   the defendant quickly stated, "No."

          AA records for the flight history of the Target Aircraft shows that the aircraft had, prior to

   July 17, 2019, traveled in interstate, overseas, and foreign air commerce and, therefore, was on

   that date, and is, a civil aircraft used, operated or employed in interstate, overseas, and foreign air

   commerce.

          All of the above-described conduct occurred at Miami International Airport, which is in

   Miami-Dade County, Florida, in the Southern District of Florida.



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           The United States and the Defendant agree that this Stipulated Factual Basis, while not

   containing all facts known to the United States, is sufficient to satisfy all of the elements

   establishing the guilt of the Defendant to the crime charged in the Indictment, that is, willfully

   attempting to damage, destroy, disable, or wreck a civil aircraft used, operated, or employed in

   interstate, overseas, or foreign commerce, in violation of Title 18, United States Code, Sections

   32(a)(l) and (a)(8).


                                                ARIANA FAJARDO ORSHAN
                                                UNITED STATES ATTORNEY



   Date:   \bj1lfl<V                    By:

                                                ASSIST ANT UNITED STATES ATTORNEY


   Date:*                               By:~~
                                                MAIAK.DETIS
                                                ASSIST ANT UNITED ST ATES ATTORNEY


                                        By:
                                                JO ATHANMELTZ
                                                ATTORNEY FOR DEFEN


   Date:                                By:
                                                ABDUL-MAJEED MAROUF AHMED ALANI
                                                DEFENDANT




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